Case 2:19-cr-00120-MEF Document 500 Filed 08/03/23 Page 1 of 3 PageID: 24929




                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA

                          v.                               Criminal No. 19-120 (KM)

GORDON J. COBURN and                                       NOTICE OF OMNIBUS MOTIONS
STEVEN SCHWARTZ                                            IN LIMINE


TO:    All Counsel of Record

               PLEASE TAKE NOTICE that on a date and time to be set by the Court, and in

accordance with the Court’s Order dated April 13, 2023, ECF No. 465, defendant Steven Schwartz,

by and through his undersigned attorneys, shall move before the Honorable Kevin McNulty,

United States District Judge at the United States District Court for the District of New Jersey,

Martin Luther King Jr., Federal Building & United States Courthouse, 50 Walnut Street, Newark,

New Jersey 07101, for entry of an order granting defendant Steven Schwartz’s omnibus motions

in limine and: (1) excluding evidence regarding Mr. Schwartz’s attendance at a Mets game on

April 22, 2014; video of Mr. Schwartz at the April 22, 2014 Mets game; and information regarding

Mr. Schwartz’s eye surgery on April 24, 2014; (2) excluding evidence of answers given by Mr.

Schwartz to questions posed by counsel for Cognizant Technology Solutions Corporation

(“Cognizant” or the “Company”) during interviews held on August 28, 2016 and September 23,

2016 to the extent the questions posed (or answers given) referred to hypothetical scenarios or

called for legal conclusions; (3) allowing to be admitted into evidence statements made by Larsen

& Toubro Ltd. (“L&T”) concerning its investigation into the alleged bribery scheme charged in

this case, including formal public statements made to the Indian stock exchange to the effect that

its investigation did not find evidence of a bribe payment; and (4) allowing to be admitted into
Case 2:19-cr-00120-MEF Document 500 Filed 08/03/23 Page 2 of 3 PageID: 24930




evidence the Government’s admission that neither the defendants, their co-conspirators, nor the

Government itself knows key details of the alleged bribe conspiracy in this case.

               PLEASE TAKE FURTHER NOTICE that, Mr. Schwartz respectfully joins Mr.

Coburn’s application to the Court for entry of an order granting his omnibus motions in limine,

insofar as they seek an order: (a) excluding certain statements of the defendants and certain

portions of Cognizant’s internal policies concerning the definition of particular legal terms

(Coburn motion in limine (“MIL”) #1); (b) excluding references to, or evidence about, Cognizant’s

outsourcing jobs or using less expensive foreign labor (Coburn MIL #2); (c) excluding references

to, or evidence about, Mr. Coburn’s decisions or views relating to Cognizant’s compliance budget

(Coburn MIL #3); (d) excluding references to, or evidence about, Mr. Coburn’s compensation

while employed at Cognizant and his overall net worth (Coburn MIL #4), including with respect

to Mr. Schwartz’s compensation while employed at Cognizant and his net worth; (e) excluding

references to, or evidence about, Mr. Coburn’s refusal to sit for a second interview as part of

Cognizant’s internal investigation and the circumstances of his subsequent resignation (Coburn

MIL #5), including with respect to Mr. Schwartz’s termination of his second interview and refusal

to sit for a third interview, and the circumstances of his subsequent resignation; and (f) admitting

exculpatory statements reflected in FBI-302 reports of L&T witnesses whom the Government has

had the opportunity to question but are unavailable to testify (Coburn MIL #9).

               PLEASE TAKE FURTHER NOTICE that, in support of his omnibus motions in

limine, defendant Steven Schwartz shall rely on the accompanying Brief of Defendant Steven

Schwartz in Support of Omnibus Motions in Limine and Declaration of Kyle T. Sieber and Exhibits

appended thereto, all filed herewith.




                                                 2
Case 2:19-cr-00120-MEF Document 500 Filed 08/03/23 Page 3 of 3 PageID: 24931




                PLEASE TAKE FURTHER NOTICE that a Certificate of Service attesting to

the date and manner or service is submitted herewith.

                PLEASE TAKE FURTHER NOTICE that a proposed Order is also submitted

herewith.

Dated:      August 3, 2023                          /s/ Justin D. Lerer
                                                    Justin D. Lerer
                                                    PAUL, WEISS, RIFKIND,
                                                    WHARTON & GARRISON LLP
                                                    1285 Avenue of the Americas
                                                    New York, NY 10019
                                                    (212) 373-3000
                                                    jlerer@paulweiss.com

                                                    Attorney for Defendant
                                                    Steven Schwartz




                                               3
